Case 5:09-cr-00032-MFU             Document 118 Filed 06/22/16               Page 1 of 1         Pageid#:
                                              366                                      CLERK'S OFFICE U.S. DIST.COURT
                                                                                              AT FG NOKE,VA
                                                                                                   FILED
                         IN TH E UN ITED STA TES D ISTR ICT CO UR T
                        FOR THE W ESTERN DISTRICT OF VIRGINIA                                    JUN 2 2 2216
                                 HARRISONBURG DIVISION                                             w              *
                                                                                          BYJU      ,       ,   L K
                                                                                            ;
U N ITE D STAT ES OF AM ER ICA                           C ase N o.5:09-cr-00032-2                 P        ERK

                                                         M EM O M NDUM O PINION

M OISES M OREJON,                                        By:     H on.M ichaelF.U rbanski
      Petitioner.                                                U nited StatesD istrictJudge

        M pisesM orejon,afederalinmateproceedingproK ,filedamotion tovacate,setaside,
orcorrectsentencepursuantto28U.S.C.j2255in lightofJohnsonv.UnitedStates,                           U.S.
   ,   135S.Ct.2551(2015).Courtrecordsindicatethatthecourtalreadydismissedaprior
b2255motioninM arch2015.(ECFNo.110.)Thus,thej2255motionisasecondor
subsequentmotionunder28U.S.C.j2255(19.See.e.z.,UnitedStatesv.Hairston,754F.3d
258,262(4thCir.2014).
        Thecourtmayconsiderasecondorsuccessivej2255motiononlyuponspecific
certiscation from theUnited StatesCoul'tofAppealsforthe Fourth Circuitthata claim in the

motionmeetscertain criteria.See28U.S.C.j2255419.AsPetitionerhasnotsubmittedany
evidence ofhaving yetobtained certifcation from the CourtofAppealsto filea second or

successivej2255motion,thecourtdismissesthej2255motion withoutprejudiceas
successive. B ased upon the court'sfinding thatPetitionerhasnotm adethe requisite substantial

showingofdenialofaconstitutionalrightasrequiredby28U.S.C.j22534c)andSlackv.
M cDnnl
      'el,529U.S.473,484 (2000),acertitkateofappealabilityisdenied.l
        ENTER:This 1 1 dayofJune,2016.
                                                      f+/.m 4SXAV /.                                      '
                                                          U nited States DistrictJudge

         1Petitioperisherebyadvisedoftheprocedureforobtaining certitkation to havethiscourtreview a
successivej2255motion.Petitionermustsubmitacopyofthesuccessivej2255motiontotheCourtofApjeals,
alongwithamotionrequestingathree-judge-panelcertificationthatthedistrictcourtmayreview thesuccesslve
j2255motion.See28U.S.C.j22444b).A FourthCircuitform andinstnlctionsforfilingthismotionareavailable
âom theFoul'thCircuitatthefollowingaddress:'o ffk eoftheClerk,United StatesCourtofAppealsfortheFourth
Circuit,1100E.M ainSt.,Suite501,Richm ond,VA 23219.
